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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

  Civil Action No. 10-cv-01740-REB-MJW

  COREY N. SULLIVAN,

        Plaintiff,

  v.

  NCO FINANCIAL SYSTEMS, INC., a Pennsylvania corporation,

       Defendant.
  _____________________________________________________________________

                STIPULATION OF DISMISSAL WITH PREJUDICE
  _____________________________________________________________________

        NOW COME Plaintiff Corey N. Sullivan and Defendant NCO Financial Systems,

  Inc., appearing herein through their respective undersigned attorneys of record, and,

  pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, hereby stipulate

  and agree that the plaintiff’s claim against Defendant NCO Financial Systems, Inc. in the

  above-captioned civil action should be dismissed on its merits, with prejudice, and with

  each party to pay her or its own attorney’s fees and costs.

        WHEREFORE, Plaintiff and Defendant pray that an order dismissing Plaintiff’s claim

  against Defendant on its merits, with prejudice, and with each party to pay her or its own

  attorneys’ fees and costs, be entered in the above entitled action pursuant hereto.

  Dated: August 23, 2010.

  s/ James C. Plott                           s/ Louis Leonard Galvis
  James C. Plott                              Louis Leonard Galvis
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